               Case 2:19-cv-01890-JLR Document 24 Filed 01/12/21 Page 1 of 3



 1                                                                             Honorable James L. Robart
 2

 3

 4

 5

 6

 7                           UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8

 9
     MINNESOTA LIFE INSURANCE COMPANY, a           )
10   Minnesota Corporation,                        )            CASE NO. 2:19-cv-01890-JLR

                   Plaintiff,                      )            ORDER:
11
                                                   )
12          v.                                     )            1) DISMISSING MINNESOTA LIFE
                                                   )            AS INTERPLEADER PLAINTIFF;
13   EDNA PERKINS, an individual; TAAJ AVERY, an
     individual; AJANI PERKINS, an individual; and )            AND
     NORMA AVERY, an individual,                   )
14
                                                   )            2) STAYING PROCEEDINGS TO
15                 Defendants.                     )            ALLOW FOR MEDIATION.
                                                   )
16                                                 )
17
            This matter came before the court on the parties' joint motion 1) for an order dismissing
18
     Minnesota Life Insurance Company, with prejudice, as interpleader plaintiff from this lawsuit,
19

20   and 2) to stay these proceedings to pursue mediation. Having reviewed the motion, and finding

21   the parties have shown good cause for the requested relief,

22          IT IS HEREBY ORDERED that the motion is GRANTED on the following terms and
23   conditions:
24
            1) Minnesota Life Insurance Company is DISMISSED from this lawsuit, with prejudice
25
     against any current or future claims by these defendants relating to the group life insurance
26

27

     PROPOSED ORDER FOR DISMISSAL AND FOR                          LAW OFFICE OF GEOFFREY D. PATTERSON
     STAY OF PROCEEDINGS TO ALLOW FOR MEDIATION - 1                P.O. Box 16243 • Seattle, Washington 98116
     CASE NO. 2:19-cv-01890-JLR                                    gdp@gdpattersonlaw.com • (206) 200-8459
               Case 2:19-cv-01890-JLR Document 24 Filed 01/12/21 Page 2 of 3



 1   policy, Group Number 34457-G, issued to King County (DKT. #1). The following terms of this
 2   Order do not apply to plaintiff Minnesota Life Insurance Company.
 3
            IT IS HEREBY FURTHER ORDERED that:
 4
            2) The case is STAYED in its entirety for 120 days from the date of this order.
 5
            3) Any currently-scheduled deadlines, pre-trial dates, conferences, or hearings are
 6

 7   suspended. No new pleadings, motions, or claims of any kind may be filed by any party during

 8   the period of stay.

 9          4) During the period of the stay, the defendants will file Joint Status Reports with the
10
     court every thirty days, beginning thirty days following the date of this Order.
11
            5) Should the defendants come to a resolution of their disputes during this stay, they shall
12
     immediately notify the court.
13
            6) If, after 120 days from the date of this order, the defendants have not achieved a
14

15   comprehensive settlement of their disputes, then, on or before that date, any defendant or all

16   defendants may file a motion requesting an extension of the stay pending further alternative
17   dispute resolution. Alternatively, on or before that date, all defendants will submit an agreed,
18
     proposed pre-trial schedule for the court's consideration and to resume these proceedings.
19

20   DATED this 11th day of January, 2021.
21

22

23

24
                                                   A
                                                   Judge James L. Robart
25                                                 UNITED STATES DISTRICT JUDGE

26

27

     PROPOSED ORDER FOR DISMISSAL AND FOR                          LAW OFFICE OF GEOFFREY D. PATTERSON
     STAY OF PROCEEDINGS TO ALLOW FOR MEDIATION - 2                P.O. Box 16243 • Seattle, Washington 98116
     CASE NO. 2:19-cv-01890-JLR                                    gdp@gdpattersonlaw.com • (206) 200-8459
               Case 2:19-cv-01890-JLR Document 24 Filed 01/12/21 Page 3 of 3



 1

 2

 3
     Presented jointly by:
 4

 5   Law Office of Geoffrey D. Patterson               Curran Law Firm, P.S.
 6
     By: /s/ Geoffrey D. Patterson                     By: /s/ Chad Horner
 7
     Geoffrey D. Patterson, WSBA #21986                Chad Horner, WSBA# 27122
 8   (Counsel for Norma Avery)                         (Counsel for Norma Avery)

 9   P.O. Box 16243                                    555 West Smith Street
     Seattle, Washington 98116                         P.O. Box 140
10
     Telephone: (206) 200-8459                         Kent, Washington 98035-0140
11   E-mail: gdp@gdpattersonlaw.com                    Telephone: (253) 852-2345
                                                       E-mail: chorner@curranfirm.com
12

13   Karr, Tuttle Campbell
14
     By: /s/ Joshua M. Howard
15
     Joshua M. Howard, WSBA #52189
16   (Counsel for Minnesota Life Insurance Company)
17   701 Fifth Avenue, Suite 3300
18   Seattle, Washington 98104
     Telephone: 206-223-1313
19   E-mail: jhoward@karrtuttle.com

20
     Law Office of Greg Cavagnaro
21

22   By: /s/ Greg Cavagnaro

23   Greg Cavagnaro, WSBA #17644
     (Counsel for Edna Perkins, Taaj Avery, and Ajani Perkins)
24
     2135 112th Ave NE
25   Bellevue, WA 98004
26   Telephone: 425.818.9441
     E-mail: greg@gcavlaw.com
27

     PROPOSED ORDER FOR DISMISSAL AND FOR                        LAW OFFICE OF GEOFFREY D. PATTERSON
     STAY OF PROCEEDINGS TO ALLOW FOR MEDIATION - 3              P.O. Box 16243 • Seattle, Washington 98116
     CASE NO. 2:19-cv-01890-JLR                                  gdp@gdpattersonlaw.com • (206) 200-8459
